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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  4:11-CR-00029-02-BRW

DORIS NEAL

                                            ORDER

       The record establishes1 that Defendant Doris Neal has died; therefore, the case is

dismissed as to Defendant Doris Neal.2

       IT IS SO ORDERED this 6th day of May, 2013.


                                                    /s/ Billy Roy Wilson
                                                    UNITED STATES DISTRICT JUDGE




       1
        See Doc. No. 74.
       2
        Defendant Doris Neal’s Motion to Dismiss Indictment (Doc. No. 71) is GRANTED, as
to Defendant Doris Neal only.
